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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                        TYLER DIVISION



 UNITED STATES OF AMERICA                         §

 Vs.                                              §           CRIMINAL ACTION 6:06CR27(9)

 TANYA SMITH aka CC                               §

             FINDINGS OF FACT AND RECOMMENDATION ON FELONY GUILTY
                   PLEA BEFORE UNITED STATES MAGISTRATE JUDGE


        Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Judge for

 administration of the guilty plea and allocution under Rule 11 of the Federal Rules of Civil

 Procedure.

        On the 7th day of July, 2006, this cause came before the undersigned United States Magistrate

 Judge for Guilty Plea and Allocution of the Defendant, Tanya Smith, aka CC, on the 26-Count

 Indictment filed herein charging her with violations of Title 21, United States Code, Sections 846

 and 841(a)(1) and Title 18, United States Code, Sections 924(c) and 2. After conducting the

 proceeding in the form and manner prescribed by Fed.R.Crim.P. 11, the Court finds:

        a.      That the Defendant, after consultation with counsel of record, has knowingly and
                voluntarily consented to the administration of the Guilty Plea and Allocution in this
                cause by a United States Magistrate Judge subject to a final approval and imposition
                of sentence by the District Judge.

        b.      That the Defendant pled guilty to Count 5 of the Indictment, pursuant to a plea
                agreement with the Government which has been filed and disclosed in open court
                pursuant to Fed.R.CrimP. 11(c)(2). Count 5 of the Indictment charges the Defendant
                with possession with intent to distribute methamphetamine, in violation of Title 21,


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                 United States Code, Section 841(a)(1).

        c.       That the Defendant is fully competent and capable of entering an informed plea, that
                 the Defendant is aware of the nature of the charges and the consequences of the plea,
                 and that the plea of guilty is a knowing and voluntary plea supported by an
                 independent basis in fact containing each of the essential elements of the offenses.

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Judge accept the Plea Agreement and the Guilty Plea of the Defendant, with

 acceptance of the plea agreement conditional upon a review of the presentence report, and that the

 Defendant, TANYA SMITH, aka CC, be finally adjudged guilty of that offense.

        The United States District Clerk shall serve a copy of this proposed Findings of Fact and

 Recommendation on all parties by sending a notice of electronic filing and retain the receipt of notice

 of electronic filing. Within ten (10) days after receipt of the magistrate judge’s report, any party may

 serve and file written objections to the findings, conclusions and recommendations contained in this

 report. A party’s failure to file written objections to the findings, conclusions and recommendations

 contained in this report within ten days after being served with a copy shall bar that party from de

 novo review by the district judge of those findings, conclusions and recommendations and, except

 on grounds of plain error, from appellate review of unobjected-to factual findings and legal

 conclusions accepted and adopted by the district judge. Douglass v. United States Auto Ass’n., 79

 F.3d 1415, 1430 (5th Cir. 1996) (en banc).

             So ORDERED and SIGNED this 7           day of July, 2006.



                                                          ____________________________
                                                          JUDITH K. GUTHRIE
                                                          UNITED STATES MAGISTRATE JUDGE


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